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 6 Attorneys for Defendant
   LAND HOME FINANCIAL SERVICES, INC.
 7

 8                           IN THE UNITED STATES DISTRICT COURT

 9                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
10                                    SAN FRANCISCO DIVISION
11 MARCUS MANNING, VIRIDIANA LOPEZ                        Case No.: 3:21-cv-06505 WHO
   GARCIA,
12

13                 Plaintiffs,                            REQUEST FOR JUDICIAL NOTICE IN
                                                          SUPPORT OF MOTION TO DISMISS FOR
14          v.                                            FAILURE TO STATE A CLAIM UPON
                                                          WHICH RELIEF CAN BE GRANTED (FRCP
15 LAND HOME FINANCIAL SERVICES, INC.,                    12(b)(6))

16                  Defendant.                            Date: November 17, 2021
                                                          Time: 2:00 PM
17                                                        Judge: Hon. Judge William H. Orrick
                                                          Ctrm: 2
18

19

20

21          Defendant LAND HOME FINANCIAL SERVICES, INC., requests that the Court take

22 judicial notice of Plaintiff’s Complaint filed in this action, a true and correct copy of which is

23 attached hereto as Exhibit A.

24 DATED: October 6, 2021                         JOHNSTON | THOMAS, Attorneys at Law, PC

25

26                                          By:    /s/Ryan F. Thomas
                                                  Ryan F. Thomas
27                                                Anthony Bentivegna
                                                  Attorneys for Defendant
28                                                LAND HOME FINANCIAL SERVICES, INC.
                                                    -1-
     REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF DEFENDANT’S MOTION TO DISMISS FOR FAILURE TO STATE
     CLAIM UPON WHICH RELIEF CAN BE GRANTED (FRCP 12(b)(6))                Case No. 3:21-cv-06505-WHO
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             EXHIBIT A
             Case 3:21-cv-06505-WHO                         Document 11-1              Filed 10/06/21         Page 3 of 9

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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                        Northern District of California


                      Marcus Manning
                   Viridiana Lopez Garcia

                                                                      )       ~    v
                            Plaintiff(s)                              )
                                                                      )                                       '~             ~~ .
                                V.                                    ,       Givil.Artion No:
         LAND HOME FINANCIAL SERVICES,INC




                          Defendant(s)


                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) LAND HOME FINANCIAL SERVICES,INC
                                   1355 Willow Way Suite 250 Concord, California




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Marcus Manning
                                 Viridiana Lopez Garcia
                                           700 Heath Drive
                                           lone, California 95640




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                  CLERK OF COURT

          AUU ~ 8 2021i                                                                 HELEN ALiVi,4CEIM
Date:
                                                                                            Signature of Clerk or Deputy Clerk
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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4(l))

           This summons for (name of individual and title, if any)
was received by me on (date)

           C3 I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           Cl I left the summons at the individual's residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual's last known address; or

           Q I served the summons on (name ofindividual)                                                                       . who is
            designated by law to accept service of process on behalf of (name oforganization)
                                                                                on (date)                             ; or

           0 I returned the summons unexecuted because                                                                              ; or

           0 Other (specify):




           My fees are $                           for travel and $                 for services, for a total of $           0.00


           I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server's signature



                                                                                        Printed name and title




                                                                                            Server's address

Additional information regarding attempted service, etc:
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t
          ~




         Marcus Manning
    1    Viridiana Lopez Garcia
         700 Heath Drive                                                                           c~
    2    Ione, California 95640
    3
                                                                   N ~~FAh /V
         In Pro Per                                                 ~ATH US. y Sp
    4                                         UNITED STATES DISTRICT CO~~~ST9ic~~G
                                                                              ~F0Q4F~UAr
     5                                        NORTHEN DISTRICT OF CALIFORNIA        O9Njq
    6

     7
          MARCUS MANNING                                        Case No.
     8
          VIRIDIANA LOPEZ GARCIA
     9
                                       Plaintiffs,              COMPLAINT FOR DECLARATORY
    10                                                          AND INJUNCTIVE RELIEF
              V.
    11
          LAND HOME FINANCIAL SERVICES,
    12
          INC
    13
                                       Defendant.
    14

    15
                  Plaintiffs as for their Complaint against the above-captioned Defendant alleges as follows:
    16

    17
                                             INTRODUCTION
    18

    19   The Truth in Lending Act (TILA) is iiitended to ensure that credit terms are disclosed in
    20
         a meaningful way so consumers can compare credit terms more readily and
    21
         knowledgeably. Before its enactment, consumers were faced with a bewildering array
    22
         of credit terms and rates. It was difficult to compare loans because they were seldom
    23
         presented in the same format. Now, all creditors must use the same credit terminology
    24
         and expressions of rates.
    25

    26
         In addition to providing a uniform system for disclosures, the act:

    27        ■     Protects consumers against inaccurate and unfair credit billing and credit card practices
    28        •     Provides consumers with rescission rights


                                                              1
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v       ~       tj




                     •   Provides for rate caps on certain dwelling-secured loans
            1
                     ■   Imposes limitations on home equity lines of credit and certain closed-end home mortgages
            2
                     ■   Provides minimum standards for most dwelling-secured loans
            3
                     ■   Delineates and prohibits unfair or deceptive inortgage lending practices
            4

            5   However, truth, full disclosure is never given in the buyer, seller relationship. "We sold a
            6
                security", see Title 15§ 78 C A 10, if it's included in the definition of a security, it is excluded
            7
                from the definition of a note, then it can be stated that you're not dealing with a note, nor are you
            8

            9
                dealing with a mortgage loan, you're dealing with an "investment contract" see Title 15 § 77 A, it

        10      states that all securities are investment contracts, based upon statutory construction.
        11      Plaintiffs became concern based upon failure by the lender to disclose this hidden fact, pursuant to
        12
                TILA. Plaintiff decided to submit a request, pursuant to the Freedom of Information's Act (5
        13
                U.S.C. § 552) ("FOIA") to obtain exemplified copies of full accounting, which includes debt
        14

        15      transmittal, closing documents, accounting package and wire transfer history.

        16      On June        , 2021, Plaintiff submitted a FOIA request to the Lender for: Any and all
        17
                exemplified copies of full accounting, which includes debt transmittal, closing documents,
        18
                accounting package and wire transfer history regarding account no: 382725. LHFSI failed to
        19
                timely respond to the FOIA request. Plaintiff brings this action to challenge LHFSI's failure to
        20

        21      respond and provide copies of full accounting, which includes debt transmittal, closing

        22      documents, accounting package and wire transfer, of which LHFSI should have readily accessible.
        23

        24                                             PARTIES
        25

        26      Plaintiffs purchased residential property in Amador County, California, known and referred to as
        27      700 Heath Dr Ione, California.
        28


                                                                   2
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 1     Land Home Financial Services, Inc is a California corporation doing business at 1355 Willow
 2     Way Suite 250 Concord, California. It is an active legal entity in this state.
 3

 4                                JURISDICTION AND VENUE
 5

 6     This Court has jurisdiction over this action pursuant to 5 U.S.C.§ 552(a)(4)(B) and 28 U.S.C.
 7     §1331. Venue is proper within this District pursuant to 5 U.S.C.§ 552(a)(4)(B) and 28 U.S.C. §
 8     1391(a).

 9                                              FACTS
10
       'I'he 1'ruth in Lending Act (TILA) is a federal law passed in 1968 to ensure that consumers are
11

12     treated fairly by businesses in the lending marketplace and are informed about the true cost

13     of credit. 1'he TILA requires lenders to disclose credit terms in an easily Lulderstood manner
14
       so that consumers can confidently comparison shop interest rates and conditions.
15

16     Truth in Lending Disclosures
       Lenders must provide a Truth in Lending (TIL) disclosure statement that includes information
17

       about the amount of your loan, the an.lival percentage rate (APR), finance charges (including

`LO7   application fees, late charges, prepayment penalties), a paymcnt schedule and the total
20
       repayment amount over the lifetime of the loan.
21
       The 'I,ILA outlines rules that apply to closed-end accounts, such as home or auto loans, and
22

23     open-ended accounts like credit cards. It does not put restrictions on banks regarding how much.

24     interest they may charge or whether they inust grant a loan. It does require lenders to disclose
25
       information about all charges and fees associated~:~~ith a loan.
26
       Consumers who are refinancinr residential niortgage loans have the "right of rescission," wliich
27
       is a tliree-day cooling off period during which they may cancel the loan without losing any
28


                                                         3
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     inoney.
 1

 2
     What Is Regulation Z
 3   Regulation Z is a Federal Reserve Board rule that requires lenders to give you the true cost of
 4
     credit in writing before you borrow. That includes spelling out the amount of money loaned, the
 5
     interest rate, APR, f nance charges, fees and lengtli of loan terms.
 6
     In short, Regulation Z is another name for the Truth in Lending Act. The two are used
 7

 8   interchangeably.

 M The TILA and Regulation Z have been amended so many times since passage in 1968 that it
10
     would take a book to describe all the changes. The first came in 1970 and prohibited
11
     unsolicited credit cards, but that was just the start of an onslaught of amendments dealing with
12

13   almost every aspect of lending and credit cards.

14   One of the major ainendments was to give the Consumer Financial Protection Bureau (CFPB)
15
     rulemaking authority under the TILA. The CFPB has used it muscle heavily in this area,
16
     issuing rules for ability-to-repay requirements for mort~ra ges, refined loan originator
17
     compensation rules and points and fees liinits that apply to qualified mortgages.
18

19   Plaintiff became concern based upon failure by the lender to disclose these hidden facts, pursuant

20   to TILA and that the lender was not fulfilling its obligation under TILA and Regulation Z.
21
     Plaintiff therefore decided to submit a FOIA request to obtain exemplified of full accounting,
22
     which includes debt transmittal, closing documents, accounting package and wire transfer history,
23

24   in which (LHFSI) should have readily available.

25
     The FOIA Repuest
26
     On June 19, 2 021, Plaintiffs sent FOIA Request via United States Registered Mail Tracking No:
27
     RE 800 789 038 US and RE 800 789 055 US.
28


                                                       4
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     1   Defendants failed to provide an acknowledgement letter for the FOIA Request. LHFSI also failed
     2   to respond within 20 days as per law nor did it seek a 10 days extension.
     3

     4                                   REOUES'TED RELIEF
     5

     6     WHEREFORE, Plaintiffs prays that this Court:
     7    a. Provide for expeditious proceedings in this action;
     8    b. Enter an Order declaring that it was unlawful for the Defendant to fail to timely either (1)
     9   disclose the information requested by plaintiffs (2) assert an exemption for such information, or
    10   (3) state that no such information exist;
    11    c. Enter an Order directing LHFSI, to within 20 days of issuance of the order, either (1) make
    12   available to Plaintiffs any and all documentation responsive to the FOIA Request; (2) assert a
    13   valid exemption listed for withholding any such documentation; or (3) state that no such
    14   information, documentation exist;
    15    d. Award Plaintiffs their cost and reasonable attorneys' fees incurred in this action as provided
    16   by 5 U.S.C. §552(a)(4)(E); and
    17    e. Grant such other and further relief as the Court may deem just and proper.
    18

    19

    20

    21   Dated:
                       /                  Marcus     anning
    22
                                                  — 2~
    23                                    Viridiana opez Garcia
    24

    25

    26

    27

    28


                                                          5
